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1                                                                                          Judge Robart
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11                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
12
     UNITED STATES OF AMERICA,                  )
13                                              )
                                                )             NO. CR20-148JLR
14                                  Plaintiff,  )
                 v.                             )             ORDER ON JACKSON’S
15                                              )             MOTION FOR VIDEO OR
                                                )             TELEPHONIC PLEA HEARING
16                                              )
     KELLY T. JACKSON,                          )
17                                              )
                                    Defendant. )
18   __________________________________________ )
19           THE COURT has considered the unopposed motion to proceed with a guilty plea hearing by
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     video or telephone conference, all the records in this case, and the General Orders currently in effect.
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             THE COURT FINDS that the circumstances as set forth in the defense’s motion warrant a
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     guilty plea hearing by video, and that the hearing may take place as soon as practical because further
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24   delays in this case would cause “serious harm to the interests of justice,” see General Order No. 04-

25   20 (3/30/20), for the reasons set forth in the unopposed motion.

26   ORDER - 1

27                                                                                    ROBERT W. GOLDSMITH
                                                                                        Attorney at law
28                                                                                      705 Second Ave.
                                                                                     Seattle, WA 98104
                                                                                        (206) 623-1592
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1            THE COURT NOW ORDERS that the parties may proceed with a plea hearing by
2    video/telephone conference, consistent with current procedures established by this Court, and directs
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     the parties to consult with one another and the Court to schedule such a hearing at a mutually
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     acceptable date and time.
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     DATED this 23rd day of December, 2020.
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10                                                         A
                                                          ________________________________
                                                          JAMES L. ROBART
11
                                                          UNITED STATES DISTRICT JUDGE
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15   Presented by:

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17
     __/s/_R. Goldsmith_____________________
18
     Robert Goldsmith
19   Attorney for defendant

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26   ORDER - 2

27                                                                                   ROBERT W. GOLDSMITH
                                                                                       Attorney at law
28                                                                                     705 Second Ave.
                                                                                    Seattle, WA 98104
                                                                                       (206) 623-1592
